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                                    UN ITED STATES DI STRl CT COURT
                                    SOUTHER DI STRI CT OF FLORID A

                                          CAS E N O. 23 -CR-20336-DSL

    UNITED STATES OF AMERICA,

                     Pl a intiff,

    V.

    OSCAR BURNS ,

                     Defenda nt.
    - - - - - -- - - - - - -- - I
                           WRIT OF HABEAS CORPUS AD TESTIFICANDUM

    TO:     ANY UN ITED STATES MARSHAL and
            WARD EN , FDC M iam i, 33 NE 4 th Street, Miam i, FL 33 132

            It appearing fro m th e petition of th e Defend ant Oscar Burns that Jorge Perez-Decespedes

    (Register No. 64282-510) , a material w itness for th e Defe nse in the above enti tled case, is confi ned

    at FDC Miami at 33 NE 4 th Street, Miami, FL 33132 , and that thi s case is set fo r tria l on

    December 16, 2024 at 400 N. Miami Ave, Miami, Florida 33128 and that is necessary for the

    w itness to be befo re thi s Co urt fo r th e purpose of giv ing testimon y in said pro ceeding .

            NOW, THEREFORE, thi s is to co mm and you, any United States M arshal, that you have

    th e body of Jorge Perez-D ecespedes (Register No. 64282-510), now in custody as aforesa id,

    under safe and secure co nduct, before th is Co urt at 400       . Miami Ave, Miami, Florida 33128 by

    or before 9:00 A.M. on December 17, 2024 , fo r th e pu rpose of testify ing in th e above case, and

    upon compl etion of a ll testim ony th at yo u return the subject with all co nve ni ent speed, under safe

    and sec ure co ndu ct to the Ward en of th e afo resa id penal institu tio n.

            A nd thi s is to co mman d you, Wa rd en of FDC Miami at 33 NE 4 th Street, Miami, FL

    33132 , to de liver to the custody of any United States Marsha l, upon produ ction to yo u of a certi fied
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    copy of this writ, the body of Jorge Perez-Decespedes (Register No. 64282-510), for safe and

    secure conduct to this district for this purpose.
                                                ""T'.,.
            DONE AND ORDERED this 1              ~ Yof December, 2024.

                                                                                    .
                                                                 . LEIBOWITZ
                                                          UNITED STATES DISTRI


    Cc:     all counsel of record
            U.S. Marshal Service
